$2 5HY 6XPPRQVLQD&LYLO$FWLRQ


                                      81,7(' 67$7(6 ',675,&7 &2857
                                                                     IRUWKH
                                                       1RUWKHUQ 'LVWULFW RI &DOLIRUQLD
                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                    2375$+($/7+ ,1&




                            Plaintiff(s)
                                 Y                                                          &LYLO$FWLRQ1R
                      %276&5(: ,1&



                           Defendant(s)


                                                    6800216,1$&,9,/$&7,21

7R (Defendant’s name and address) %RWV&UHZ ,QF
                                           FR *XVW 'HODZDUH ,QF
                                            &RDVWDO +LJKZD\
                                           /HZHV '( 




          $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

        :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RX QRWFRXQWLQJWKHGD\\RXUHFHLYHGLW ²RUGD\VLI\RX
DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
3 D  RU  ²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
ZKRVHQDPHDQGDGGUHVVDUH &KULV - =KHQ
                                           =KHQ /DZ )LUP
                                            :LOVKLUH %OYG 
                                           /RV $QJHOHV &$ 
                                           7(/ 
                                           (0$,/ FKULV]KHQ#]KHQODZILUPFRP

       ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
<RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW



                                                                                     ST
                                                                                       ATE
                                                                                          S DISTR
                                                                                                 IC
                                                                                                   T
                                                                                                     CLERK
                                                                                                     CL    OF COURT
                                                                                 D
                                                                                                        Susan Y. Soong
                                                                                                           CO
                                                                            E
                                                                          IT




                                                                                                             UR
                                                                        UN




                                                                                                               T
                                                                        N O RT




                                                                                                                NI A




'DWH       12/11/2020
                                                                                                            OR
                                                                           HE




                                                                                                           IF




                                                                                 N
                                                                                                           AL
                                                                                 R




                                                                                     DI
                                                                                          S T RI T O F C
                                                                                                C
                                                                                                                       Signature of Clerk or Deputy Clerk
$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                     3522)2)6(59,&(
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)
 ZDVUHFHLYHGE\PHRQ (date)                                          

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                 RQ (date)                             RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                  DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ (date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                       ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                                 RQ (date)                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU (specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH
                                                                                             Server’s signature



                                                                                         Printed name and title




                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
